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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 KOCH MINERALS SÀRL
 Chemin des Primevères 45
 Fribourg, 1700
 Switzerland

 KOCH NITROGEN INTERNATIONAL SÀRL
 Chemin des Primevères 45
 Fribourg, 1700
 Switzerland,

                     Plaintiffs,

                         v.                          Civil Action No. 1:17-cv-02559
 BOLIVARIAN REPUBLIC OF VENEZUELA
 Ministerio del Poder Popular para Relaciones
 Exteriores
 Oficina de Relaciones Consulares
 Avenida Urdaneta
 Esquina Carmelitas a Puente Llaguno
 Piso 1 del Edificio Anexo a la Torre MRE
 Caracas, 1010
 República Bolivariana de Venezuela,

                     Defendant.


                                   NOTICE OF APPEARANCE

       PLEASE TAKE NOTICE that, pursuant to LCvR 83.6, Carlos Ramos-Mrosovsky of

Alston & Bird LLP, hereby enters his appearance as an attorney of record on behalf of Plaintiffs,

Koch Mineral Sàrl (“KOMSA”) and Koch Nitrogen International Sàrl (“KNI”), in the above-

captioned action.

       Submitted this 18th day of July, 2018.

                                                 /s/ Carlos Ramos-Mrosovsky
                                                     Carlos Ramos-Mrosovsky
                                                     DC Bar No. 986363
                                                     carlos.ramos-mrosovsky@alston.com
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                                  Alston & Bird LLP
                                  90 Park Avenue
                                  New York, NY 10016
                                  Phone: 212-210-9585
                                  Fax: 212-210-9444

                                  Attorney for Plaintiffs




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